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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

LINDA ESTES,

                       Plaintiff,

v.                                                                          No. 18-CV-293-JCH

MAXIM HEALTHCARE SERVICES, INC.,
D/B/A MAXIM STAFFING SOLUTIONS,
AND JEREMY SOLANO,

                       Defendants.

                          MEMORANDUM OPINION AND ORDER

       THIS MATTER is before the Court on Plaintiff’s Motion to Remand, [Doc. 6], Plaintiff’s

Motion for Leave to File Amended Complaint for Damages, [Doc. 8], and Defendant Maxim’s

Motion for Leave to Amend its Answer and Defenses to Plaintiff’s Complaint, [Doc. 31]. Having

reviewed the motion to remand and brief in support, the Defendants’ response, the Plaintiff’s reply,

and all the relevant legal authorities, the Court concludes that Plaintiff’s Motion to Remand should

be granted because Defendants failed to remove the case in a timely manner. The case will be

remanded to state court, and the other motions will remain pending.

                                        BACKGROUND

       On March 29, 2017, Plaintiff Linda Estes, a New Mexico citizen, filed a lawsuit in state

court against Defendant Maxim Healthcare Services, a Maryland citizen, and Defendant Jeremy

Solano, a New Mexico citizen, alleging five counts: (1) violations of the New Mexico Human

Rights Act (“NMHRA”); (2) breach of implied contract; (3) assault and battery; (4) negligence;

and (5) punitive damages. [Doc. 1-1 at 4 of 10]. The complaint states, inter alia, “Plaintiff has
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suffered damages including, but not limited to emotional distress and lost wages.” [Doc. 1-1 at 6

of 10]. It also asserts a claim for punitive damages. [Doc. 1-1 at 8 of 10].

       Almost one year later, on March 20, 2018, Defendants deposed the Plaintiff. [Doc. 1 at 3].

Then on March 28, 2018, nearly a year after Plaintiff initially filed suit in state court, Defendants

filed their Notice of Removal. Id. Defendants contend that the case had just become removable

because at the Plaintiff’s deposition they discovered for the first time that the amount in

controversy exceeded $75,000. Defendants further argue that Plaintiff fraudulently joined

Defendant Solano to defeat this Court’s diversity jurisdiction. Id. at 3.

       In her Motion to Remand, Plaintiff asserts that Defendants were in possession of

information regarding the amount in controversy well before her deposition and therefore they did

not remove the case in a timely manner. Plaintiff also argues that this Court does not have diversity

jurisdiction because Defendant Solano was properly joined to this lawsuit. Plaintiff also filed a

Motion for Leave to Amend seeking to add a claim against Defendant Solano. Finally, Defendant

Maxim seeks to amend its answer to include a defense alleging that Plaintiff did not follow the

statutory requirements under the NMHRA.



                                           STANDARD

       Federal courts are courts of limited jurisdiction, and there is a presumption against removal

jurisdiction, which the defendant seeking removal must overcome. See Fajen v. Found. Reserve

Ins. Co., 683 F.2d 331, 333 (10th Cir. 1982); see also Martin v. Franklin Capital Corp., 251 F.3d

1283, 1290 (10th Cir. 2001). Removal statutes are to be strictly construed, and all doubts are to be

resolved against removal. Fajen, 683 F.2d at 333.




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       Defendants removed this case to federal court based on diversity jurisdiction. To invoke

diversity jurisdiction, “a party must show that complete diversity of citizenship exists between the

adverse parties and that the amount in controversy exceeds $75,000.” Dutcher v. Matheson, 733

F.3d 980, 987 (10th Cir. 2013). “The burden of establishing subject-matter jurisdiction is on the

party asserting jurisdiction.” Montoya v. Chao, 296 F.3d 952, 955 (10th Cir. 2002) (citing

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994)). When a case has been

removed, “the defendant is required to prove jurisdictional facts by a ‘preponderance of the

evidence’ such that the amount in controversy may exceed $75,000.” McPhail v. Deere & Co.,

529 F.3d 947, 953 (10th Cir. 2008) (citation and internal quotation marks omitted). Nevertheless,

“the removing defendant, as proponent of federal jurisdiction, must establish what the plaintiff

stands to recover.” Id. at 954 (citation omitted).

       A matter may be remanded back to state court if the federal court lacks subject matter

jurisdiction (such as diversity jurisdiction). 28 U.S.C. § 1447(c). “[T]here are two types of

improperly removed cases: those in which the federal court has no subject matter jurisdiction and

those with defects in the removal procedure itself.” Huffman v. Saul Holdings Ltd. P'ship, 194 F.3d

1072, 1076 (10th Cir. 1999) (citation omitted). A defendant must remove a case within thirty (30)

days “after receipt by the defendant [. . .] of a copy of an amended pleading, motion, order, or

other paper from which it may first be ascertained that the case is one which is or has become

removable.” 28 U.S.C. § 1446(b) (emphasis added).

       “[T]he key to determining the date from which the clock begins to run is when the

defendant is able to intelligently ascertain removability.” Akin v. Ashland Chem. Co., 156 F.3d

1030, 1036 (10th Cir. 1998) (citation and internal quotation marks omitted). The Tenth Circuit

does not “impose a duty to investigate and determine removability where the initial pleading



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indicates that the right to remove may exist.” Id. (citation and internal quotation marks omitted).

The Tenth Circuit “requires clear and unequivocal notice from the pleading itself, or a subsequent

‘other paper’ such as an answer to interrogatory.” Id. (quotation marks in original). Furthermore,

a statement of damages need not be explicit; rather, a defendant may rely on an estimate of the

potential damages from the allegations in the complaint. For example, a Defendant may remove a

case based on a reading of the face of the complaint even though the complaint did not specify the

numerical value of the damage claim. McPhail v. Deere & Co., 529 F.3d 947, 955-56 (10th Cir.

2008) (citing Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir.1999)).

       In any event, a case may not be removed based on diversity jurisdiction “more than 1 year

after commencement of the action, unless the district court finds the plaintiff has acted in bad faith

in order to prevent a defendant from removing the action.” Id. § 1446(c)(1). “The failure to comply

with these express statutory requirements for removal can fairly be said to render the removal

‘defective’ and justify a remand.” Huffman, 194 F.3d at 1077 (citation and internal quotation marks

omitted).

                                          DISCUSSION

       The first issue this Court must resolve is whether Defendants filed their notice of removal

in a timely manner under 28 U.S.C. § 1446. Plaintiff filed the Complaint in state court on March

29, 2017, Defendants took the Plaintiff’s deposition on March 20, 2018, and Defendants removed

on March 28, 2018. Thus, the Defendants did remove the case just under one year from

commencement of the action in accordance with Section 1446(c)(1). Less clear is whether the

Defendants removed the case within 30 days of their receipt of “an amended pleading, motion,

order, or other paper” from which it was first ascertainable that the case was removable. 18 U.S.C.

§ 1446(b)(3). Here, that question centers upon the question of when Defendants were in possession


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of information from the pleadings and discovery that would enable them to intelligently ascertain

that the jurisdictional amount of $75,000 was satisfied. The Tenth Circuit has held that one may

ascertain the amount in controversy through “contentions, interrogatories or admissions in state

court; by calculation from the complaint's allegations[;] by reference to the plaintiff's informal

estimates or settlement demands[;] or by introducing evidence, in the form of affidavits from the

defendant’s employees or experts, about how much it would cost to satisfy the plaintiff’s

demands.” McPhail, 529 F.3d at 954 (alterations in original, citation omitted). “The list is not

exclusive.” Id. (citation omitted).

       The parties do not dispute that the amount in controversy in this case does in fact exceed

$75,000. Rather, the parties disagree on the date when Defendants would have been able to

calculate that the amount in controversy exceeded $75,000 to make the case removable, at which

point the 30-day time limit started to run. Defendants argue that initially they were not aware of

the amount that Plaintiff sought in damages because Plaintiff’s complaint did not allege a specific

amount that she was seeking, nor did it allege that Plaintiff was seeking lost wages or emotional

distress damages. [Doc. 1 at 2]. Thus, Defendants contend that the case was not removable until

Plaintiff’s deposition on March 20, 2018. Huffman, 194 F.3d at 1078 (holding that the 30-day time

limit starts ticking once comments are made at the deposition, not upon receipt of the transcript).

Defendants allege that during this deposition they learned for the first time that Plaintiff was

seeking “at least” $28,000 in lost wages, and that based on this comment Defendants were able to

properly calculate that the total amount in controversy exceeded $75,000.1




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  Defendants elected not to support their argument with excerpts from Plaintiff’s deposition, so
the Court cannot verify these allegations. However, Plaintiff does not dispute that she made
statements to this effect about her lost wages during her deposition.


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        On the other hand, Plaintiff argues that the case was removable more than 30 days before

the March 28, 2018 removal based on information contained in her complaint, her answers to

interrogatories, correspondence, and tax documents she provided to Defendants during discovery.

See Akin, 156 F.3d at 1036 (holding that answer to interrogatory was other paper that made case

removable); Huffman, 194 F.3d at 1079 (explaining that a combination of materials can help the

defendant “intelligently ascertain removability.”). Plaintiff points out that with the exception of

the amount of lost wages she is claiming, Defendants discovered nothing new at her deposition

regarding the amount in controversy, and that the information available to Defendants through

discovery and pleadings before the deposition indicated that the amount in controversy was

satisfied.

        The Court will address each element of damages in turn. First, in her answers to

Defendants’ interrogatories [Doc. 10-1], which she provided to Defendants on October 9, 2017,

Plaintiff stated that she was making “$13.00 per hour while employed with [M]axim,” and that she

“was out of work for approximately four (4) to six (6) months.” [Doc. 19 at 5]. Thus, Plaintiff

asserts that Defendants could have calculated that she would be seeking a minimum of $7,280 to

$10,920 in backpay based on a thirty-five-hour work week. The Court, however, concludes that

based on Plaintiff’s answer the Defendants could have assumed that Plaintiff was seeking $11,830

in damages. The Court arrives at this number by multiplying $13 per hour, for 35 hours per week,

for 26 weeks (six months).

        Second, in her Complaint Plaintiff asserted an emotional distress claim. See Doc. 1-1 at 6

of 10 (Count I). In addition, Plaintiff’s letter to Defendant on December 11, 2017 [Doc. 9-1 at 2]

expressly stated that she is making a “garden variety” emotional distress claim. Thus, Defendants

cannot be heard to complain that they were not aware of the emotional distress claim until the



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deposition. In their Notice of Removal, Defendants calculate such a claim to be valued at $30,000

based on federal decisions from other districts. Doc. 1 at 5, ¶ 13. Defendants do not assert that this

number is based on any new information they obtained at the deposition but is rather one used by

courts to value similar claims, so presumably they could have assessed the value of the emotional

distress claim from the time they received the Complaint.

       Third, in their Notice of Removal Defendants calculate Plaintiff’s attorney’s fees2 to be at

least $28,000, which is a conservative estimate based on the fact that Defendants had accrued

$56,000 in fees at the time of removal. See Doc. 1 at 5, ¶ 12. Again, there is nothing in the record

to suggest that Defendants could not have estimated these fees in December of 2017 when they

received Plaintiff’s letter regarding her lost wages.

       Fourth, despite Plaintiff’s urging, the Court will not consider pre-judgment interest in

calculating the jurisdictional amount. Under the diversity statute, 28 U.S.C. § 1332(a), the amount

in must be determined “exclusive of interest and costs.” Such interest is not counted toward the

jurisdictional amount where, as here, it arises solely by virtue of a defendant’s delay in paying

money owed to a plaintiff. See State Farm Mut. Auto Ins. Co. v. Narvaez, 149 F.3d 1269, 1271

(10th Cir. 1998).

       Fifth, Defendants do not address the value of Plaintiff’s punitive damages claim. As the

Supreme Court has noted, punitive damages may be considered in determining the jurisdictional

amount. Woodmen of World Life Ins. Soc’y v. Manganaro, 342 F.3d 1213, 1218 (10th Cir. 2003).



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 Attorney’s fees may be considered for purposes of determining amount in controversy if the
plaintiff may recover those fees as an element of damages as a matter of right—for example,
pursuant to statute. See Miera v. Dairyland Ins. Co., 143 F.3d 1337, 1340(10th Cir. 1998). Here,
Plaintiff has pled a claim under the New Mexico Human Rights Act, NMSA 1978, 28-1-1 et seq.
Section 28-1-13(D) of that statute provides for an award of attorney’s fees to a prevailing
plaintiff.


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In December of 2017 the Defendants had notice that Plaintiff’s compensatory damages totaled

roughly $42,000 (lost wages of almost $12,000 and emotional distress damages of approximately

$30,000), exclusive of attorney’s fees. Given those compensatory damages, a conservative

estimate of a jury’s punitive damages award is at least $25,000.3 Again, Defendants could have

reached this conclusion based upon information available to them in December 2017 from the face

of the Complaint and responses to discovery.

       In total, based on information the Defendants possessed in December of 2017, they could

have intelligently calculated the jurisdictional amount to be in excess of $90,000 because

Plaintiff’s lost wages, emotional distress, attorney’s fees, and punitive damages claims totaled

approximately $94,830. Thus, at that time Defendants could have reasonably ascertained that the

case was removable. However, they did not remove the case until March 28, 2018, outside the

thirty-day time limit.

       In response, Defendants argue that they do not have a duty to investigate the value of

Plaintiff’s claims. Although it is true that Defendants do not have a duty to conduct an independent

investigation of that value, they may not ignore information on the face of the Complaint or that

they have obtained through the discovery and pretrial process that sheds light on the matter.

Further, Defendants do have the burden to demonstrate that their removal is timely. Here, the

Defendants assert that they could not have known until Plaintiff’s deposition that at least $75,000

was at issue; however, Defendants have failed to provide the Court with any excerpts from the




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 See Pacific Mut. Life Ins. Co. v. Haslip, 499 U.S. 1, 23 (1991) (holding that, while “the punitive
damages award in this case is more than 4 times the amount of compensatory damages” and
“may be close to the line,” the award “does not cross the line into the area of constitutional
impropriety”); BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 580-81 (1996) (adopting as a
“guidepost” the requirement that “exemplary damages must bear a ‘reasonable relationship’ to
compensatory damages”).
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deposition that show that Plaintiff provided new information that was not previously in

Defendants’ possession with the exception of the lost wages claim. However, even before that

revision Defendants had been provided information demonstrating that the jurisdictional amount

was satisfied. The same calculations that Defendants made after the deposition in late March of

2018 could have been made in December of 2017, after they received Plaintiff’s answers to their

interrogatories. Defendants had in hand Plaintiff’s complaint, her tax filings, and the answers to

interrogatories which clearly demonstrated how much she lost in wages. See id. at 955 (holding

that “the defendant may rely on an estimate of the potential damages from the allegations in the

complaint[,]” and that “beyond the complaint itself, other documentation can provide the basis for

determining the amount in controversy[.]”).Consequently, Defendants’ argument that they were

unable to conclude that the amount in controversy exceeded $75,000 until Plaintiff’s deposition is

unpersuasive.

       Thus Defendants’ removal is untimely, coming more than thirty days after their receipt of

a paper from which they could have first ascertained that the case was removable. Having

concluded that removal was untimely, the Court need not reach the question of whether Defendant

Jeremy Solano was fraudulently joined in order to destroy complete diversity among the parties.

                                        CONCLUSION

       In light of the foregoing, the Court concludes that Defendants did not remove the case in a

timely matter, and therefore the Court does not have diversity jurisdiction. Accordingly, the Court

will remand the case to state district court. Lacking jurisdiction in the case, the Court will not

address Plaintiff’s motion for leave to amend her complaint or Defendants’ motion for leave to

amend their answer, both of which remain pending.




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       IT IS THEREFORE ORDERED that Plaintiff’s Motion to Remand [Doc. 6] is

GRANTED.

       IT IS FURTHER ORDERED that this case is hereby REMANDED to the Second

Judicial District Court, County of Bernalillo, New Mexico.



                                            ________________________________________
                                            JUDITH C. HERRERA
                                            UNITED STATES DISTRICT JUDGE




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